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                                                                                                          Form 8

    FORM 8. Entry of Appearance

       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                   SOVERAIN SOFTWARE                    v. NEWEGG
                  -----------------------
                                                  No. 2011-1oog

                                       ENTRY OF APPEARANCE
      (INSTRUCTIONS: Counsel should refer to Federal Circuit Rules 47.3 . Pro se petitioners and
      appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and Appellants.
      File this form with the clerk within 14 days of the date of docketing and serve a copy of it on the
      principal attorney for each party.)
      Please enter my appearance (select one):
              c=]Pro Se              I .f lAs counsel for:        Soverain Software LLC
                                                                  Name ofparty
      I am, or the party I represent is (select one):
              L:]Petitioner L:]Respondent L:]Amicus curiae L:]Cross Appellant
              ~Appellant CZ]Appellee                    ~Intervenor
      As amicus curiae or intervenor, this party supports (select one):                      r;. r ~h:O
                                                                                  U.S. COUrt JF APPEALS FOR
              c:::J.Petitioner or appellant     ~espondent or appellee               THE FEOERALCIRCUIT
      My address and telephone are:
            Name:                 Thomas L. Giannetti, Esq.
                                                                                          OC I L 2' 2010
            Law firm:             Jones Day
                                                                »MHQRBALy
            Address:              222  East 41 st Street
            City, State and ZIP: New York, New York 10017-6702
            Telephone:            212-326-3939
            Fax#:                 212-755-7306
            E-mail address:       tlgiannetti@jonesday.com
                                  ~--~~--~------------------------------
      Statement to be completed by counsel only (select one):
              ~ I am the principal attorney for this party in this case and will accept all service
              for the party. I agree to inform all other counsel in this case of the matters
              served upon me.
              c=J I am replacing                     as the principal attorney who will/will not
              remain on the case. [Government attorneys only.]
              [LJ I am not the principal attorney for this party in this case.
      Date admitted to Federal Circuit bar (counsel only): November 17, 1984
       This is my first appearance before the United States Court of Appeals for the Federal Circuit
       (counsel only):
              c=JYes        I .f INo
      c::::::::J courtroom accessible to the handicappe
         (0            0

       cc:

q                                                                                                            123
